




02-10-306-CV









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

NO. 02-10-00306-CV 

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  In the Interest of B.S., a Child
  
  
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FROM THE 324th
District Court OF Tarrant COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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&nbsp;

On July
1, 2011, we notified appellant that his brief had not been filed as required by
Texas Rule of Appellate Procedure 38.6(a).&nbsp; See Tex. R. App. P.
38.6(a).&nbsp; We stated we could dismiss the appeal for want of prosecution unless
appellant or any party desiring to continue this appeal filed with the court
within ten days a response showing grounds for continuing the appeal.&nbsp; See
Tex. R. App. P. 42.3.&nbsp; On July 11, 2011, appellant filed a motion for extension
of time to file his brief.&nbsp; On August 8, 2011, appellant’s motion for extension
of time to file brief was granted and we ordered that appellant’s brief be
filed by Wednesday, September 7, 2011.&nbsp; Appellant’s brief has not been filed.&nbsp; 

Because
appellant's brief has not been filed, we dismiss the
appeal for want of prosecution.&nbsp; See Tex. R. App. P. 38.8(a), 42.3(b),
43.2(f).

&nbsp;

PER CURIAM

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PANEL:&nbsp;
GARDNER,
WALKER, and MCCOY, JJ.&nbsp;


&nbsp;

DELIVERED:&nbsp;
October 6, 2011&nbsp; 








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[1]See Tex. R. App. P. 47.4.







